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                   United States District Court
                     District of Massachusetts
________________________________
                                  )
UNITED STATES OF AMERICA          )
                                  )
          v.                      )
                                  )    Criminal No.
FRANK IACABONI,                   )    05-10003-NMG
                                  )
          Defendant.              )
________________________________ )

                            MEMORANDUM & ORDER

GORTON, J.

     Before the Court are two motions to reconsider filed on

behalf of defendant Frank Iacaboni (“Iacaboni”).

I.   Background

     On April 22, 2009, after an eight-week trial, Iacaboni was

convicted by a jury on various charges, including illegal

gambling, conspiracy to commit arson and arson.         On April 28,

2009, Iacaboni filed a motion for a judgment of acquittal

pursuant to Fed. R. Crim. P. 29(c) and a motion for a new trial

pursuant to Rule 33.    Both motions were timely filed and were

denied by endorsement on May 8, 2009.

     On May 15, 2009, Attorney Alan Caplan filed a notice of

appearance for Iacaboni who was represented by other counsel at

trial.   After moving for and being granted a continuance of the

sentencing, Attorney Caplan, on behalf of Iacaboni, filed a

motion for reconsideration of the Court’s denial of his Rule


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29(c) motion on August 30, 2009.          The government filed its

opposition to that motion on October 2, 2009 to which Iacaboni

filed, without leave of court, a reply on October 9, 2009.

Subsequently, the government filed a sur-reply and Iacaboni a

response to that sur-reply, both without leave of court.

      In the meantime, on October 5, 2009, Iacaboni filed a motion

for reconsideration of the denial of his motion for a new trial.

The government opposed that motion on October 16, 2009.              Again,

without leave of court, Iacaboni filed a reply to the

government’s opposition, the government filed a sur-reply and

Iacaboni filed what he described as a “first reply” to the sur-

reply.1

II.   Analysis

      A.      Legal Standard

      The Federal Rules of Criminal Procedure, unlike the Rules of

Civil Procedure, do not expressly contemplate motions for

reconsideration.        Invoking judicial economy concerns, however,

some courts have considered such motions in criminal cases.

E.g., United States v. Cook, 670 F.2d 46, 48 (5th Cir. 1982).

The First Circuit does not appear to have ruled directly on the

issue.



      1
        The Court is displeased with this overly-papered motion
practice which has proceeded in violation of Local Rule
7.1(B)(3). If the practice is repeated, sanctions will be
imposed.

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     With no explicit guidance from the criminal rules, courts

considering reconsideration motions in criminal cases generally

borrow standards either from civil cases or from the local rules.

Thus, even assuming that such a motion should be considered, it

is appropriate only

     if the moving party presents newly discovered evidence,
     if there has been an intervening change in the law, or if
     the movant can demonstrate that the original decision was
     based on a manifest error of law or was clearly unjust.

United States v. Allen, 573 F.3d 42, 53 (1st Cir. 2009).

Importantly, motions for reconsideration are not to be employed

to “allow a party to advance arguments that could and should have

been presented to the district court [previously].”        Id.

(citations omitted).

     B.     Application

            1.     Motion to reconsider the Rule 29(c) motion

     Iacaboni requests reconsideration of this Court’s denial of

his motion for judgment of acquittal pursuant to Fed. R. Crim. P.

29(c).    Specifically, he contends that the evidence was

insufficient to convict him of the arson conspiracy and that

because that conviction is a prerequisite of a majority of the

remaining charges, he must also be acquitted of those.         He also

argues that the two gambling charges were multiplicitous.

     The government responds that Iacaboni’s motion does not meet

(or even attempt to meet) the high burden for a motion to

reconsider.      In particular, the government asserts that, by his

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own admission, Iacaboni seeks to advance new arguments based on

evidence and cases that existed prior to the filing of the

original Rule 29(c) motion in April, 2009.       That is explicitly

prohibited with respect to a motion to reconsider and, as such,

Iacaboni’s motion is, instead, a second, original motion for

acquittal under Rule 29(c).    As such, it is untimely because it

was filed (much) more than seven days after the verdict.         The

government also refutes the substance of Iacaboni’s arguments.

     The government is correct and Iacaboni’s exorbitant effort

to convince the Court otherwise is unavailing.        He continuously

and vigorously maintains that the Court may consider a motion for

reconsideration in a criminal case and, as such, he is not

incorrect.   That, however, misconstrues the government’s

argument.    Whether the court may reconsider motions in criminal

cases is beside the point because what Iacaboni has submitted is

not a proper motion for reconsideration.       He does not invoke or

attempt to meet the standard for such a motion but instead seeks

to submit an entirely new Rule 29 motion months after the seven-

day deadline has expired.    He contends that the First Circuit’s

standards for reconsideration are merely guidelines, not a

“straight jacket” but he cites no authority for that contention.

For reconsideration the First Circuit requires a showing of newly

discovered evidence or manifest error of law, neither of which

Iacaboni has demonstrated.    His submission is a series of


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arguments that could and should have been previously presented to

the district court and accordingly the motion will be denied.2

Allen, 573 F.3d at 53.

             2.    Motion to reconsider the Rule 33 motion

     Iacaboni has also filed a motion to reconsider the denial of

his motion for a new trial.        Specifically, he invokes the same

sufficiency-of-the-evidence argument from his Rule 29 motion as

well as evidentiary arguments about limiting testimony from law

enforcement officers.       Objections to that testimony were heard

and overruled at trial but here defendant claims to rely on case

law not previously brought to the Court’s attention.             Finally,

although acknowledging that Rule 33 motions are reserved for

“exceptional cases”, he maintains that Rule 33 gives the Court

greater discretion than does Rule 29.

     The government’s response is similar to its response to

Iacaboni’s Rule 29 motion.        It contends that the motion is not

one to reconsider because Iacaboni’s initial Rule 33 motion was

short and conclusory and thus there is nothing to reconsider.

Rather, the instant motion contains arguments not previously made

and thus is, in effect, a second Rule 33 motion that should be

denied as time-barred.        As before, the government rebuts



     2
        Iacaboni cites one First Circuit case decided after May
8, 2009. Nonetheless, he does not contend that the case
represents any relevant change in the law and thus it is not
grounds for reconsidering this Court’s prior ruling.

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Iacaboni’s substantive points and reiterates the movant’s

extremely high burden under Rule 33.

     The Court will deny the defendant’s motion to reconsider

because, again, the motion is based upon arguments that could and

should have been presented previously.      Indeed, Iacaboni

acknowledges as much when he asserts in his memorandum his intent

to bring cases with respect to the testimony of law enforcement

officers to the Court’s attention for the first time.         In a

footnote, the defendant proclaims that the government

     appears   to  misapprehend   the   very   nature  of   a
     reconsideration motion, which is to request that the
     Court reach a different conclusion, which may or may not
     include additional arguments.

(emphasis in original).    It is Iacaboni, however, who

misapprehends motions to reconsider.      As held repeatedly, they

are not a vehicle for resuscitating a motion with “additional

arguments” that could and should have been raised previously and

that is precisely what the defendant attempts to do here.         Allen,

573 F.3d at 53.

          3.      Iacaboni’s substantive arguments

     Although the conclusions above are sufficient to deny

Iacaboni’s motions, the Court has also carefully considered the

substance of his arguments and the government’s responses.            The

Court finds the government’s argument persuasive.        With respect

to the sufficiency-of-the-evidence contention, whatever weight

the finder of fact may or may not have given to Iacaboni’s

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arguments if previously presented, the Court is not now, nor has

it ever been, in the position of the jury.       Rather, the defendant

must overcome two high hurdles here: 1) the burden of overturning

a jury verdict under Rule 29 (or for a new trial under Rule 33)

and 2) the burden with respect to a motion to reconsider an

already-decided motion.    With respect to the testimony of law

enforcement officers, the Court heard and considered similar

objections at trial and citations to additional cases simply do

not render this an “exceptional case” worthy of a remedy

“sparingly used” to grant a new trial.      See United States v.

Leach, 427 F.2d 1107, 1111 (1st Cir. 1970).       The evidence was

properly before the jury which subsequently reached a verdict

adverse to the defendant Iacaboni.      He has a right to appeal.

     In short, nothing substantive from Iacaboni’s profuse

filings warrants overruling the jury that this Court empaneled

and charged with great care or reconsidering the Court’s legal

rulings.   The defendant’s arguments are preserved for another

forum but his motions here will be denied.




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                                 ORDER

     In accordance with the foregoing, the defendant’s motions to

reconsider (Docket Nos. 858 and 878) are DENIED.



So ordered.

                                 /s/ Nathaniel M. Gorton
                                 Nathaniel M. Gorton
                                 United States District Judge

Dated November 3, 2009




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